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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR11-120-JCC
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   FREDERICK NNABUIFE,                  )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Marijuana

15 Date of Detention Hearing:     June 17, 2011.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense, the maximum penalty of which



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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

02 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

03          2.      Defendant was arrested in Las Vegas, where he has been living since 2004. He

04 is a former resident of the Seattle area. He has a prior arrest for a drug trafficking-related case

05 which is pending sentencing in Nevada. Sentencing was previously set for 5/25/11 in that

06 case, but the defendant was in custody for the instant offense.

07          3.      Defendant asserts that he has citizenship in the United States and Nigeria. He

08 indicates that his girlfriend has the Nigerian passport, but that the U.S. passport has been lost.

09 Defendant indicates that he came to the United States as a teenager in 1991 pursuant to an

10 immigration lottery, becoming a lawful permanent resident and then a citizen in 1998. He

11 asserts that he changed his name from Justin Nnanabu to Frederick Nnabuife. The AUSA

12 proffers that ICE agents have determined that two persons with that name have the same social

13 security number but different dates of birth. Further, the AUSA proffers that two dates of birth

14 are associated with the name of Jerry Nnanabu, defendant’s uncle who resides in Federal Way,

15 but the same social security number. Defendant asserts that his uncle is Jerry Nnanabu and his

16 cousin is Jerry Nnanabu, Jr. There is no explanation why either the two Jerry Nnanabus or the

17 two Justin Nnanabus have the same social security number.

18          4.      Taken as a whole, the record does not effectively rebut the presumption that no

19 condition or combination of conditions will reasonably assure the appearance of the defendant

20 as required and the safety of the community.

21 It is therefore ORDERED:

22      1. Defendant shall be detained pending trial and committed to the custody of the Attorney



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01        General for confinement in a correction facility separate, to the extent practicable, from

02        persons awaiting or serving sentences or being held in custody pending appeal;

03     2. Defendant shall be afforded reasonable opportunity for private consultation with

04        counsel;

05     3. On order of the United States or on request of an attorney for the Government, the

06        person in charge of the corrections facility in which defendant is confined shall deliver

07        the defendant to a United States Marshal for the pupose of an appearance in connection

08        with a court proceeding; and

09     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

10        for the defendant, to the United States Marshal, and to the United State Pretrial Services

11        Officer.

12        DATED this 17th day of June, 2011.

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14                                                      A
                                                        Mary Alice Theiler
15                                                      United States Magistrate Judge

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